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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

  SRAM, LLC,                                           )
                                                       )
                        Plaintiff,                     )
                                                       )
  v.                                                   )      Case No.
                                                       )
  PRINCETON CARBON WORKS INC.,                         )      JURY TRIAL DEMANDED
                                                       )
                        Defendant.                     )

                        COMPLAINT FOR PATENT INFRINGEMENT

           COMES NOW Plaintiff SRAM, LLC (“SRAM”) and for its Complaint for Patent

  Infringement against Defendant Princeton Carbon Works Inc. (collectively “Defendant” or

  “PCW”), states as follows:

                                             PARTIES

           1.    SRAM is a limited liability company organized and existing under Delaware law

  and has its principal place of business at 1000 West Fulton Market, 4th Floor, Chicago, Illinois

  60607.

           2.    Defendant PCW is a Florida corporation with its registered agent Robert J. Hunt,

  185 NW Spanish River Blvd Suite 220, Boca Raton, Florida 33431.

                                     JURISDICTION AND VENUE

           1.    This is a civil action brought by SRAM for patent infringement committed by

  Defendant PCW and arising under the patent laws of the United States, specifically, Title 35 of the

  United States Code.

           2.    This Court has jurisdiction over the subject matter of this action pursuant to

  28 U.S.C. §§ 1331 and 1338.
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          3.          Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b), (c) and 1400(b).

          4.          Infringement events giving rise to SRAM’s claims occurred in this District.

          5.          Defendant PCW resides and may be found in this District by virtue of its activities

  in this District.

          6.          Directly and/or through intermediaries, Defendant PCW manufactures, sells, offers

  to sell, uses, and/or distributes bicycle wheels, in the United States and in this District.

          7.          Defendant PCW developed and tested infringing bicycle wheels, including the

  Wake 6560 wheels, in the State of Florida.

          8.          More specifically, Defendant PCW makes, uses, sells, offers for sale, and/or

  imports into the United States products advertised as bicycle wheels, including the Wake 6560 and

  Grit      4540          wheels,      and      further       described    on     its     website      at

  https://www.princetoncarbon.com/product/wake-6560/ and https://www.princetoncarbon.com/

  product/grit-4540/, with examples shown below.

          9.          An example of the PCW Wake 6560 Wheel (“PCW Wake 6560 Wheel”) is shown

  as follows:




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         10.     An example of the PCW Grit 4540 Wheel (“PCW Grit 4540 Wheel” is shown as

  follows:




         11.     The PCW Wake 6560 and PCW Grit 4540 Wheels (collectively “the PCW

  Wheels”) have been offered for sale in the United States, and in this District, by Defendant PCW

  or an authorized agent thereof.


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         12.      The PCW Wheels have been sold in the United States, and in this District, by

  Defendant PCW or an authorized agent thereof.

         13.     The PCW Wheels have been imported into the United States, and in this District,

  by Defendant PCW or an authorized agent thereof.

         14.     Defendant PCW advertises its bicycle wheels, such as the PCW Wheels, in the

  United States and in this District.

         15.     Defendant PCW’s bicycle wheels, such as the PCW Wheels, are placed on bicycles

  in the United States and in this District.

         16.     Defendant PCW’s bicycle wheels, such as the PCW Wheels, are intended to operate

  as advertised on Defendant PCW’s website (www.princetoncarbon.com) and as described in its

  associated marketing materials.

         17.     Defendant PCW has committed acts of patent infringement in this District.

         18.     Defendant PCW, directly and/or through intermediaries, have for a time past and

  still are purposefully shipping, selling, and/or offering for sale, whether alone or as part of an end

  product, the PCW Wheels in the United States and the State of Florida, and, more specifically, in

  this judicial district in competition with SRAM’s products.

                                               BACKGROUND

         19.     On April 4, 2017, the United States Patent and Trademark Office (“USPTO”) duly

  and legally issued United States Patent No. 9,610,800 B2 (“the ‘800 Patent”), entitled “BICYCLE

  WHEELS”.

         20.     The ‘800 Patent issued from Application No. 13/809,615. A true and accurate copy

  of the ‘800 Patent is attached hereto as Exhibit A.




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         21.     On April 7, 2020, the United States Patent and Trademark Office (“USPTO”) duly

  and legally issued United States Patent No. 10,611,188 B2 (“the ‘188 Patent”), entitled “BICYCLE

  WHEELS”.

         22.     The ‘188 Patent issued from Application No. 15/472,933, which in turn was a

  continuation of Application No. 13/809,615. A true and accurate copy of the ‘188 Patent is

  attached hereto as Exhibit B.

         23.     The owner of the patents, Mr. Dimitris Katsanis assigned all of his rights in and to

  the ‘800 and ‘188 Patents to Metron IP Limited (“Metron”), which granted SRAM the exclusive

  license in and to the ‘800 and ‘188 Patents, including, inter alia, all rights to bring any action for

  infringement of the ‘800 and ‘188 Patents and exclusive rights to make, have made, use, sell, offer

  for sale, and import any products that would, in the absence of a license, infringe a valid claim of

  the ‘800 and ‘188 Patents. SRAM thus has standing to sue for infringement of the ‘800 and ‘188

  Patents.

         24.      The ‘800 and ‘188 Patents claim inventions of a wheel for use with a bicycle having

  particular features, as set forth in columns 10 through 12 of the ‘800 Patent and columns 11

  through 12 of the ‘188 Patent.

         25.     The PCW Wheels each are a wheel for use with a bicycle.

         26.     The PCW Wheels each have a hub for mounting the wheel to a bicycle.

         27.     The PCW Wheels each have a rim about which a tire is mountable.

         28.     The PCW Wheels each have a plurality of spokes extending between the hub and

  the rim.

         29.     The PCW Wheels each have a rim with a radially inner edge.




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         30.     At least part of the radially inner edge of each of the PCW Wheels has an undulating

  configuration and a radial distance that continuously varies between adjacent peaks and troughs of

  the undulating configuration.

         31.     Each peak of the undulating configuration of the radially inner edge of each of the

  PCW Wheels has a convex exterior profile in a plane of the wheel.

         32.     At least part of the radially inner edge of each of the PCW Wheels has an undulating

  curve configuration, the undulating curve configuration having peaks and troughs.

         33.     The radially inner edge of each of the PCW Wheels has convex profiles in convex

  regions of the rim, the convex regions including the peaks.

         34.     Defendant PCW makes bicycle wheels, including the PCW Wheels identified

  above, for persons to use in the United States.

         35.     Defendant PCW markets its bicycle wheels markets, including the PCW Wheels

  identified above, to be used in the United States.

         36.     Defendant PCW sells bicycle wheels, including the PCW Wheels identified above,

  to persons for use in the United States.

         37.     Defendant PCW offers to sell bicycle wheels, including the PCW Wheels identified

  above, to persons for use in the United States.

         38.     Defendant PCW imports and/or otherwise provides bicycle wheels, including the

  PCW Wheels identified above, to persons for use in the United States.

                                           COUNT I
               (Infringement of U.S. Patent No. 9,610,800 B2 by Defendant PCW)

         39.     SRAM hereby incorporates, as though fully set forth herein, the allegations of

  paragraphs 1 through 38 of this Complaint.




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            40.   Defendant PCW has infringed and continues to infringe the ‘800 Patent by making,

  using, selling, and/or offering for sale within the United States or importing into the United States

  bicycle wheels that embody one or more of the claims of the ‘800 Patent, including at least claim 1

  of the ‘800 Patent, and/or by contributing to infringement, inducing others to infringe the ‘800

  Patent, and/or carrying acts constituting infringement under 35 U.S.C. § 271(f).

            41.   Defendant PCW knew of the ‘800 Patent’s patented technology long before the

  initiation of the present action and therefore Defendant PCW’s actions have been both willful and

  deliberate.

            42.   Defendant PCW has had knowledge of the ‘800 Patent since at least on or about

  May 29, 2018, when SRAM sent a letter to Defendant PCW describing infringement of the ‘800

  Patent.

            43.   Defendant PCW will continue to willfully infringe the ‘800 Patent unless enjoined

  by this Court, which has resulted and will continue to result in irreparable harm to SRAM.

            44.   As a direct and proximate result of the infringement by Defendant PCW of the ‘800

  Patent, SRAM has been and continues to be damaged in an amount yet to be determined.

                                              COUNT II
                  (Infringement of U.S. Patent No. 10,611,188 B2 by Defendant PCW)

            45.   SRAM hereby incorporates, as though fully set forth herein, the allegations of

  paragraphs 1 through 44 of this Complaint.

            46.   Defendant PCW has infringed and continues to infringe the ‘188 Patent by making,

  using, selling, and/or offering for sale within the United States or importing into the United States

  bicycle wheels that embody one or more of the claims of the ‘188 Patent, including at least claim 1

  of the ‘188 Patent, and/or by contributing to infringement, inducing others to infringe the ‘800

  Patent, and/or carrying acts constituting infringement under 35 U.S.C. § 271(f).



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         47.     Defendant PCW knew of the ‘188 Patent’s patented technology long before the

  initiation of the present action and therefore Defendant PCW’s actions have been both willful and

  deliberate.

         48.     Defendant PCW has had knowledge of the subject matter of ‘188 Patent since at

  least on or about May 29, 2018, when SRAM sent a letter to Defendant PCW describing

  infringement of its parent, the ‘800 Patent.

         49.     Defendant PCW will continue to willfully infringe the ‘188 Patent unless enjoined

  by this Court, which has resulted and will continue to result in irreparable harm to SRAM.

         50.     As a direct and proximate result of the infringement by Defendant PCW of the ‘188

  Patent, SRAM has been and continues to be damaged in an amount yet to be determined.

                                      REQUEST FOR RELIEF
         WHEREFORE, SRAM respectfully prays for judgment against Defendant PCW as
  follows:

         A.      For a judgment holding Defendant PCW liable for infringement of the ‘800 and
                 ‘188 Patents;

         B.      For an award of damages adequate to compensate SRAM for Defendant PCW’s
                 infringement of the ‘800 and ‘188 Patents;

         C.      Because Defendant PCW knew of the ‘800 and ‘188 Patents and willfully and
                 deliberately chose to infringe a known patent, for an award of treble damages and
                 other damages allowed by 35 U.S.C. § 284 for Defendant PCW’s willful and
                 deliberate infringement of the ‘800 and ‘188 Patents;

         D.      For injunctive relief enjoining Defendant PCW, their officers, agents, servants,
                 employees and attorneys and all other persons in active concert or participation with
                 them as follows:

                         (i)     from manufacturing any products falling within the scope of the
                                 claims of the ‘800 and ‘188 Patents;

                         (ii)    from using any product falling within the scope of any of the claims
                                 of the ‘800 and ‘188 Patents;



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                       (iii)   from selling, offering to sell, licensing or purporting to license any
                               product falling within the scope of any of the claims of the ‘800 and
                               ‘188 Patents;

                       (iv)    from importing any product into the United States which falls within
                               the scope of the ‘800 and ‘188 Patents;

                       (v)     from actively inducing others to infringe any of the claims of the
                               ‘800 and ‘188 Patents;

                       (vi)    from engaging in acts constituting contributory infringement of any
                               of the claims of the ‘800 and ‘188 Patents; and

                       (vii)   from all other acts of infringement of any of the claims of the ‘800
                               and ‘188 Patents;

         E.     That Defendant PCW be ordered to deliver up for destruction all infringing
                products in their possession;

         F.     Because Defendant PCW knew of the ‘800 and ‘188 Patents and willfully and
                deliberately chose to infringe a known patent, that this be declared an exceptional
                case and that SRAM be awarded its attorneys’ fees against Defendant PCW
                pursuant to 35 U.S.C. § 285;

         G.     For such further relief as this Court deems SRAM may be entitled to in law and in
                equity.

                                        JURY DEMAND
         Plaintiff SRAM demands a trial by jury as to all claims and all issues properly triable
  thereby.


  Dated: March 19, 2021                       Respectfully submitted,

                                              /s/ Eric C. Christu
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                                     and

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